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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

IN RE: DMCA SUBPOENA )
To Cloudflare, Inc. )
DECLARATION OF MATTHEW J. OPPENHEIM

I, Matthew J. Oppenheim, declare and testify as follows:

1. | am a member of Oppenheim + Zebrak, LLP, and am admitted to practice law in
Maryland and the District of Columbia, among other jurisdictions. | represent a
publisher and owner of copyrighted works, Shueisha Inc.

2. On Shueisha’s behalf, | am seeking a subpoena pursuant to 17 U.S.C. § 512(h) to
identify the persons infringing its copyrighted works, as identified in the 512(c)(3)(A)
notification accompanying this declaration.

3. The purpose for which the subpoena is sought is to obtain the identity of alleged
infringers and the information obtained therefrom will only be used for the purpose of
protecting rights under the Copyright Act.

I declare under penalty of perjury, under the laws of the United States of America, that

the foregoing is true and correct.

Executed on March 4, 2019, in Washington, DC.

         

 

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Z Matthew J. Oppénhei
MD Bar # 22236 , oa
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